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                               Exhibit 45



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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  392:1

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       3

       4          IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS STATE OF MISSOURI

       5

       6    STATE OF MISSOURI, EX REL.               ) JEREMIAH W. (JAY) NIXON,             )

       7    ATTORNEY GENERAL,                        ) )

       8                      PLAINTIFFS,            ) )     CASE NO.

       9                      V.                     )     054-1216 )

      10    DEY INC, DEY LP, MERCK KGAA,             )   DIVISION NO. 31 EMD INC, WARRICK       )

      11    PHARMACEUTICALS CORPORATION,             ) SCHERING-PLOUGH CORPORATION,      )

      12    AND SCHERING CORPORATION,                ) )

      13                      DEFENDANTS.            )

      14

      15

      16

      17

      18                 VIDEO DEPOSITION OF MS. SUSAN MCCANN

      19                                 VOLUME II

      20     Taken on behalf of the Defendants Warrick, Schering,

      21                           and Schering-Plough

      22                             November 7, 2007

      23

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  606:1                Q.      Counsel for Warrick asked you some

       2    questions about the balancing the difference in the

       3    dispensing fee and the -- I don't want to

       4    mischaracterize this -- but the ingredient costs.

       5               And you -- I believe you testified that you

       6    thought that the dispensing fee was lower than it

       7    should have been for the pharmacist.        Could you tell

       8    me what you think the dispensing fee should have

       9    been?

      10               A.      At the time --

      11               MR. McDONALD:      Object -- I'm sorry.   Object

      12    to the form.

      13               A.      At the time I felt that it should at

      14    least be the cost to dispense.        We had established

      15    that it cost, with no profit, a pharmacist to dispense

      16    a prescription to be this amount.

      17               MS. ADAMS:

      18               Q.      And do you recall what that cost was?

      19               A.      I think it was 5.24.

      20               Q.      Okay.

      21               A.      Or 5.14.

      22               Q.      So when you say the dispensing fee at

      23    4.09 was lower than it should have been, you think it

      24    should have been 5.24?

      25               MR. McDONALD:      Object to the form.




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  607:1                MS. ADAMS:

       2               Q.      Is that correct?

       3               MR. McDONALD:      Object to the form.

       4               A.      I believed at the time that the fee

       5    should reflect the cost to dispense.         And I believe --

       6    it was what was in the number that was in the survey.

       7    I don't recall the precise number.

       8               MS. ADAMS:

       9               Q.      Okay.   So you believe that the

      10    ingredient fee should have been balanced by the

      11    difference, the $1.23 difference in the dispensing

      12    fee, is that correct?

      13               A.      My position always was that we should

      14    pay accurately for both the ingredient cost and the

      15    fee.    That the ingredient cost should be what is being

      16    paid for the drug and that the fee should be

      17    appropriate for the dispensing.

      18               MS. ADAMS:

      19               Q.      Okay.   Thank you.    And one more question

      20    about the dispensing fee.        Is the dispensing fee set

      21    by the legislature?

      22               A.      I believe so.     I think it's in the

      23    appropriation.

      24               Q.      Okay.   Do you know if it's any of the

      25    rules and regulations?




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